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GARY BRICKWOOD (SBN 94892)
BRICKWOoD LAW OFFICE

1135 Pine St., Suit@ 210

Redding, CA 96001

Tel (530) 245-1377

Fax (530) 245-1379

Attorneys for Defendants
ANDREA L. SILVER MERRILL
and RICHARD WALTON MERRILL

DlMAS O’CAMPO,
Plaintiff,
VS.

STEVE DE CLERCK ENTERPRISES,
INC. dba TACO BELL #021286;
ANDREA L. SILVER aka ANDREA
L. SILVER MERRILL, SUCCESSOR
TRUSTEE of the LUCILLE F.
MORGAN IRREVOCABLE LIVING
TRUST NUMBER TWO; RICHARD
WALTON MERRILL,

Defendants.

 

ANDREA L. SILVER aka ANDREA
L. SILVER MERRILL, SUCCESSOR
TRUSTEE cf the LUCILLE F.
MORGAN IRREVOCABLE LIV[NG
TRUST NUMBER TWO; RICHARD
WALTON MERRILL,

CrOSS-Claimants,

VS.

C&k MARKETS, INC., dba RAY’S FOOD
PLACE; AND ROES 1 through 10,

CroSS-Defendants.

Sase 2:16-cV-Ol769-.]AI\/|-C|\/|K Document 23 Filed 07/11/17 Page 1 of 5

lN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

) CaSe No.: 2116-Cv-01769-JAM CMK

)
) PROOF OF SERVICE OF SUMMONS
) AND DEFENDANTS’ FIRST

) AMENDED ANSWER TO PLAINTIFF’S

) COMPLAINT AND CROSS-CLAIM ON
C&K MARKETS, INC.

\../\-/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\_/\-_/\_/\-_/\-_/\-/\-,/\-,/\.,/\_,/\_/\_/\_/

 

 

PROOF OF SERVICE

 

 

POS-O‘lD

 

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_ Gary C. Brickwood,

Brickwocd Lavv foice

1135 Pine Street Suite 210 Redding, CA 96001
rEi_Ei=HoNE Nol; 1530) 245~1877|1=»< No, issoi 245-rare |E-rviAiL AooREss ropiionaii; amce@bri:kwuudew mm
ArroRNEY roe iivamei; ;

 

UN|TED STATES D|STR|CT COURT
srREET AooREss; 501 l STREET, ROOiv'l 4-2CIG
immune Aoonese:
cnY ANo ziP cooE: SACRAN|ENTO, CA 95814
eRANcH NAME; EASTERN DlSTR|CT OF CAL|FORN|A

PLAlNT|FF: Dimas O'Campo case Nuivieei=r;

 

DEFENDANT: Steve De Clerck Enterprises. lnc., et al. 2116'€V'01759'JAM'CMK

 

PRoor-' oF sERvicE 0F summons Ref' N°' °lp"e N‘Ej~gampo V_ ge gleer

 

 

 

 

(Separate proof of service is required for each party sen/ed.)

1. At the time of service l vvas at least 18 years of age end not a party to this action
2. l served copies of:

3. [:| Summons

b- Complaint

Cr Alternative Dispute Resolution (ADR) package

Cl- |:| Civil Case Cover Sheet (serveo' in compiex cases oniy)
€- Cross~complaint

f.

other (Specify documents).' Summons in a Civi| Case;Defendants Andrea L. Silver l'liierril| and Richard Walton llilerrill's
First Amended Answer to P|aintlf~f's Compiaint and Cross-Claim

3. a. Party served (specify name of party as shown on documents served).'
C&K |V|arkets, lnc.

b- g Person (other than the party in item Ba) served on behalf of an entity or as an authorized agent (and not a person under
item 5b on whom substituted service Was made) (specify name and reiationship to the party named in item 3a).'

Karl Wissmann - Agent for Service

4. Address Where the party Was served: C&K Markets
830 O'Hare Parkway
Nledford, OR 97504

5. l served the party (oheck proper box)

614 by personal service. l personally delivered the documents listed in item 2 to the party or person authorized to
receive service of process for the party (1) on (date): (2) at (tirne):

ll M by substituted service. On (date).' 6i2i2017 at (time): 12:49 P|'ll'l l left the documents listed in item 2 With or
in the presence of (riame and title or relationship to person indicated in item Sb):
Angelina Nlalgarejo - Receptionist - Authorized to Accept Service

(1) M (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
person to be served l informed him other of the general nature of the papers.

(2) I:i (home) a competent member of the household (at least 18 years of age} at the dwelling house or usual place of
abode of the party. l informed him or her of the general nature of the papers

(3) l:l (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
address of the person to be served, other than a United States Postal Service post office bo)<. | informed him of
her of the general nature of the papers

(4) \:\ l thereafter mailed (by first»class, postage prepaid) copies of the documents to the person to be served at the
place Where the copies Were left (Code Civ. F’roc., §415.20). l mailed the documents on
(date): from (city): or M a declaration of mailing is attached

(5) \:] l attach a declaration of diligence stating actions taken first to attempt personal service

Page 1 of 2

Forrn Apprpved for Mahdalory Use Code of Clvll Procedure, § 417\10

Y§‘sc.i§`t§?§33_“§§.1?1§§°§“}§@0?1 PROOF OF SERV'CE OF SUMMONS Poso1o-1iLPP46927

 

Case 2:16-cv-Ol769-.]Al\/l-Cl\/lK Document 23 Filed 07/11/17 Page 3 015

 

F'ET|T|ONER: Dimas O'Campo

RESPONDENT: Andrea L. Sl[ver et a|.

 

 

CASE NUMBERC

2:'16-cv~01759-JAM~CMK

 

 

C_ t:l by mail and acknowledgment of receipt of service. l mailed the documents listed in item 2 to the party, to the address

shown in item 4, by first-class mail, postage prepaidl
('l) on (dafe).' (2) from (city):

(3) |:l With two copies of the Notice and Acknowiedgment of Receiptand a postage-paid return envelope addressed to me.
(Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)

(4) |:\ te sri address outside ceiiierrtis with return receipt requested icette civ. Pree., § 415.40.)

d. [:| by other means (specify means of service and authon'zirig code section).'

|:| Additional page describing service is attached
6. The "Notlce to the Person Served" (on the summons) was completed as follows:

E- |:| as an individua! defendant
b- as the person sued under the fictitious name of (speciij/):
C- as occupantl
d- on behalf er (speeiry).-
under the following Code of Clvll Procedure section:
I:l 416.‘[0 (corporation)
l:[ 416.20 (defunct corporation)
m 416.30 (joint stock company/association)
l:l 416.40 (assoclation or partnershlp)
[l 416.50 (pubiic entity)

416.60 (minor)

415.46 (occupant)
other:

[:ll:ll:lljl]E

'r'. Person who served papers
a. Name: Kristeen Martin - Lega| Photocopy Service

b. Address: 2700 Eureka Way Redding, CA 96001
c. Telephone number: (530) 241-7686
d. The fee for service was: $
e. |am:
(1)§ not a registered Ca|ifornia process server.
(2) exempt from registration under Business and Professions Code section 22350(b).
(3) re istered California process server: m/
m owner |:| employee independent contractor.
(il) Registration No.:
(iii) County:

415.95 (business organization, form unknown]

416.70 (ward or conservatee)
416.90 (authorized person)

3_ E]/ t declare under penaity of perjury under the laws of the State of California that the foregoing is true and correct

or
9. |:| l am a California sheriff or marshal and l certify that the foregoing is true and correct

Date'. 6i'5i'2017

__`_ Legal Photoco y Service
‘='Y§= 2700 Eureka ay
Redding, CA 96001
(530) 241-7686
www.legalphotocopy.com

b ®J\',\l£l_Os)/~

Kristeen Ntartin
(NAME OF PERSON WHO SERVED PAPERSlSHER|FF OR MARSHAL)

isiGNATuRE)

 

'”°S'°‘° lR"'“Jt‘““a“’ " ml PRooF oi= sERvicE oF summons

Page 2 oi'Q
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Case 2:16-cv-O 769-.]Al\/l-Cl\/l Document 23 Filed 07/11/17 Page 4 015
Ct'::`t.‘_~i\':," 2 ` ?CQ~JAlvt-Civ:i\ Du\_,i.ii'i'i€i":i 22 Fiic(,i uor/,uu.r rr:`ct§€ 2 vi 2

RETURN OF SERV[CE
DATE 6i2i17 @ 12:49 pm

 

Servicc ol`lho Surnmons and complaint was made hy mem

NAiva OF SERVE.R (i’i\’i'N'/`)KR‘STEEN MARTIN TITLE pROCESS SERVER

 

 

 

C`iiet'k one box below to indicate appropriate merited ofst’i'vice

 

m Servcd personally upon thc defendant P|acc where served:

 

 

g L.ef`t copies thereof at the dcl"cntlant's dwelling house or usual place of bode with a person ot` suitable age and
discretion then residing thcri:in.

izi Name oi`pci'son with Whotn the summons and complaint Were lcf`t: ANG‘Ei-iNA MAi-GAREJO ” RECEFT|ON§ST!
AUTHORlZED TO ACCEPT SERV|CE

 

m Rcturncd uncxccutcd:

 

 

 

m Othcr (Spccii`y) :

 

 

 

SERVED ATI 830 O'HARE PARKWAY l\llEDFORED OREGON 97504

 

STATEM ENT OF SERVICE FEES

 

TRAVEL S ERV[CES 'i`(:)'l"AL

 

 

 

DECLARATION OF SERVER

 

[ declare under penalty of perjury under the iaws of thc United Statcs o'l"Arnerica that thc foregoing information
Containcd in thc I{cturn of Scrvicc and Statement of Scrvicc Fces is true and corrccl.

‘ .t)v-
E,\'ccutcd on 615/17 ®)\\-9 M )

[)at:c Sig)ioiiire of$ci'ver

2700 EUREKA WAY REDDING CA 96001

.4 dtiress ofSei'ver

 

 

 

 

 

Gary C. filricl<vvoodl Esg., SBN; 94892
Brickvvood Law Office
1135 Pine Street Suite 210
Redding, Cl-\ 96001
rELEPHoNE ivo.; (530) 245-1877 FA

Aitomey for:

Aff@mer@rl°arfvWithvvraff@&$€ 2216-CV-Ol769-.]A|\/|-C|\/|K DOCUm€nt 23 Filed 07 11/17 PS@?ERB]UP'BY

smart Aooasss ropiienei;: office@brickwoodlaw.com
xNe (oprierrei,l: (530) 245-1879

 

HefNo. or File No.:
O'Campo v. De C|erck

 

 

insert name of Courty and .ludiciei Disln'c! and Brancii Court.'

UN|TED STATES D|STR|CT COURT ~

EASTERN D|STR|CT OF CAL|FORN|A

 

Pisiniin; Dimas O'Campo

oerenesnt: Steve De C|erck Enterprises, lnc_

, et ali

 

PROOF OF SERV|CE
BY NlAlL

 

 

HEAi=tiNc oArE; riiiiE; oEPT.; CASE NUMBER:
2: ‘i 6-cv-0'l769-JAN1-Cl\lil(

 

 

 

 

 

1. l am over the age of 18 and not a party to this action. l am employed in the county Where the mailing occured.

2. | served copies of the Summons in
Amended Answer to Piaintiff's Com

3. By placing a true copy thereof enc|

a Civil Case;Defendants Andrea L. Silver l\ilerrili and Richard Walton lVlerrill's First
pialnt and Cross-Claim;

osed in a sealed envelope, With First Class postage thereon fully prepaid, in the United

States Nlai| at C|'llco. 95928, California, addressed as fol|oWs:

a. Date of l\ilailing:
b. Place of l\iiailing:
c. Addressed as folloWs:

June 06, 2017
Chico, 95928, CA

C&K lillari<ets, lnc.
830 O'Hare Parkway
l\liedford, OR 97504

l am readily familiar With the firm`s practice for collection and processing of documents for mailing Under that practicel it

Would be deposited Withih the United

States Postal Service, on that same day, With postage thereon fully prepaid at Chicol

95928, California in the ordinary course of business

Fee for Service: $ 120.00
Lega| Photocopy Service
lessee 2700 Eureka Way
" Redding, CA 96001
(530) 241 -7686
Ref: O'Campo v. De C|erck

l declare under penalty of perjury under the laws of the
The State of California that the foregoing information
contained in the return of service and statement of
service fees is true and correct and that this declaration
vvas executed on June 05, 2017.

Signature: \`/\'(/L"/ A/ i/V%

ililitce Lopez

 

PROOF OF SERV|CE BY N|A|L

Order#: LPP46927i'mailproof

